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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION


LISA R. DISSINGER,

                   Plaintiff,

v.                                                 Case No. 6:22-cv-575-CEM-DCI

FRONTLINE ASSET
STRATEGIES, LLC,

                   Defendant.


            CASE MANAGEMENT AND SCHEDULING ORDER

       THIS CAUSE is before the Court on the Parties’ Case Management Report

(Doc. 23). Pursuant to Federal Rule of Civil Procedure 16(b) and Local Rule 3.02(c),

it is ORDERED that counsel and all parties, including pro se parties, shall comply

with the following deadlines and instructions. The deadlines herein shall not be

extended without Court approval.

 Action or Event                           Deadline
 Mandatory initial disclosures             AUGUST 31, 2022
 Motion to join a party or amend           SEPTEMBER 15, 2022
 pleadings
 Plaintiff’s expert report disclosure      MAY 3, 2023
 Defendant’s expert report disclosure      JUNE 2, 2023
 Rebuttal expert report disclosure         JUNE 16, 2023
 Completion of discovery and motion to     JULY 3, 2023
 compel discovery
 Dispositive and Daubert motions           AUGUST 2, 2023



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 Mediation                                    JULY 17, 2023
 Joint pretrial meeting                       NOVEMBER 24, 2023
 Filing of the joint final pretrial           DECEMBER 5, 2023
 statement; any other motions, including
 motion in limine; jointly proposed jury
 instructions and jointly proposed
 verdict form
 Trial Status Conference                      DECEMBER 21, 2023 at 10:00 AM in
                                              Courtroom 5B
 Trial Term                                   JANUARY 2024

                                  I.       DISCOVERY

      The parties shall not file on the docket discovery materials, including copies

of written interrogatories, notices of taking depositions, or requests for production

or admissions, except as necessary to the presentation and consideration of a motion.

      Each party shall timely serve discovery requests so that the Rules allow for a

response prior to the discovery deadline.

      The parties may reach their own agreement regarding the designation of

materials as “confidential” without a Court order. The Court discourages

unnecessary stipulated motions for a protective order. However, filing under seal is

not authorized by agreement or stipulation. See M.D. Fla. R. 1.11.

                          II.    EXTENSION OF DEADLINES

      The parties may not extend the deadlines herein by agreement or stipulation

and deadlines are not tolled pending the Court’s ruling on a motion.




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      All motions for extension of deadlines must be filed promptly and must state

good cause for the extension. A motion for extension of time should not be filed on

the day of the deadline.

      Motions to extend the dispositive motions deadline or to continue the trial date

are generally denied. The Court will grant an exception only when necessary to

prevent manifest injustice. Further, extension of the dispositive motion deadline will

generally result in a continuance of the trial term to allow the Court sufficient time

to resolve the dispositive motion.

      Motions for an extension of the other deadlines set forth herein are disfavored.

Failure to complete discovery within the time established by this Order does not

constitute good cause for an extension of the deadline. The filing of a motion for

extension of time does not toll the time for compliance with deadlines.

                 III.      EMERGENCY AND TIME-SENSITIVE MOTIONS

      Counsel and parties are advised that the designation of “emergency” will

cause a judge to abandon other pending matters in order to immediately address the

emergency. The Court will sanction any counsel or party who improperly designates

a motion as an emergency. It is not an emergency when counsel or parties have

delayed compliance until the eve of the deadline.




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      Promptly after filing an emergency or time-sensitive motion, the filing

counsel or pro se party shall call the Clerk’s office and request that they notify the

presiding judge’s chambers.

                      IV.   MOTIONS FOR SUMMARY JUDGMENT

      The briefing schedule for Responses and Replies to motions for summary

judgment are governed by Local Rule 3.01.

      Both the movant and the party opposing summary judgment shall provide

pinpoint citations to the record; general references to exhibits or documents are

insufficient.

                                   V.     MEDIATION

      The parties have not designated a mediator in this case. The parties may jointly

stipulate to the substitution of a different mediator without Court approval, but

mediation must still take place prior to the deadline.

      Once a mediation date is agreed upon, the parties shall file a notice advising

the Court of the same.

      At least two days prior to the mediation—or longer if requested by the

mediator—the parties shall provide to the mediator a written summary of the facts

and issues of the case and any other information requested by the mediator. Failure

to do so may result in the imposition of sanctions.




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      The following individuals must attend mediation in person: each attorney

designated as lead trial counsel; each party, or a party’s surrogate with full authority

to settle that is satisfactory to the mediator; and any necessary insurance carrier

representative. Only the mediator may declare an impasse or end the mediation.

Unexcused absence or departure from mediation, or a failure to participate in good

faith, is sanctionable conduct.

      Within seven days after mediation, the mediator must file a report, noting the

result of mediation and whether all required persons attended. If the mediator fails

to do so, the parties shall file such a notice within fourteen days after mediation.

      The substance of any mediation is confidential and no party, lawyer, or other

participant is bound by, may record, or without the Judge’s approval may disclose

any event, including any statement confirming or denying a fact—except

settlement—that occurs during the mediation.

                                   VI.   SETTLEMENT

      After agreeing to resolve all or part of a civil action, the parties must

immediately file a notice in accordance with Local Rule 3.09(a).

      Regardless of the status of settlement negotiations, the parties shall appear for

all scheduled hearings and comply with all deadlines absent a Court order or the

filing of a proper Notice or Stipulation of Dismissal under Federal Rule of Civil

Procedure 41.



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       If the parties fail to notify the Court of a settlement prior to 11:30 AM on the

last business day before the date scheduled for jury selection, the parties will be

jointly assessed jury costs.

                        VII. PRETRIAL MEETING AND FILINGS

       The parties’ pretrial meeting may occur in person, by telephone, or by video

conference. Conference solely by e-mail or text message is insufficient. All parties

are responsible for participating in the pretrial meeting and filing a Joint Final

Pretrial Statement, but Plaintiff’s counsel, or Plaintiff if proceeding pro se, has the

primary responsibility to coordinate the meeting and filing.

       The parties must fully comply with Local Rule 3.06. Failure to do so may

result in the imposition of sanctions, including but not limited to striking of the Final

Pretrial Statement or pleadings.

       Upon the filing of the Joint Final Pretrial Statement, the pleadings are deemed

to have merged into the Joint Final Pretrial Statement, which will control the course

of the trial.

       Absent good cause, the Court will not admit into evidence any exhibit and

will not permit the testimony of any witness that were not presented to opposing

counsel or pro se parties at the parties’ pretrial conference. Also absent good cause,

the Court will not permit the use of any demonstrative exhibits that were not

presented to opposing counsel or pro se parties at least seven days prior to trial.



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      Photographs of non-documentary evidence and reductions of large

documentary exhibits to be substituted for original exhibits after conclusion of the

trial must be presented to opposing counsel for examination at the parties’ pretrial

conference. Objections to such substitution exhibits must be listed in the Joint Final

Pretrial Statement.

      The parties must attach an exhibit list to the Joint Final Pretrial Statement on

the form provided on Judge Mendoza’s page on the Middle District of Florida

website. The exhibit list must include each specific objection—“all objections

reserved” or similar language will not suffice. Absent good cause, objections not

made with specificity are waived.

      For jury trials, the parties must submit a single set of jointly-proposed jury

instructions and a jointly-proposed verdict form. Within the jointly-proposed

filings, the parties may submit contested or alternate instructions. Any such

instructions must identify the requesting party and provide citation to any applicable

legal authority along with a summary of the opposing party’s objection beneath the

instructions. The parties must also e-mail a copy of the proposed jury instructions

and verdict form in Microsoft Word format to the following e-mail address:

chambers_flmd_mendoza@flmd.uscourts.gov.




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       The parties may attach to the Joint Final Pretrial Statement a single list of

jointly-proposed questions for the Court to ask the venire during voir dire. Failure to

do so will be construed as a waiver of the parties’ ability to submit such questions.

       Counsel or pro se parties may contact the trial judge’s courtroom deputy clerk

to discuss any concerns regarding exhibits and equipment to be used during trial.

Subject to availability, they may schedule a time to tour the courtroom and test

courtroom equipment with the courtroom deputy clerk.

                           VIII. TRIAL STATUS CONFERENCE

       At the trial status conference, the Court will set the case for a date-certain trial

and will schedule the final pretrial conference. No substantive matters will be heard

at this time.

       Trials that cannot be set for trial during the scheduled trial term will be carried

over to the following month on a trailing trial calendar, and issued subpoenas will

continue in force. Counsel, parties, and witnesses shall be available on twenty-four

hours’ notice for trial after the beginning of the trial term.

       For scheduling purposes, a different District Judge—including a visiting

District Judge—may try this case. Additionally, for the same reasons, trial may be

set in any division of the Middle District of Florida.




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                       IX     FINAL PRETRIAL CONFERENCE

      All parties and counsel must be prepared and authorized to accomplish the

purposes set forth in Federal Rule of Civil Procedure 16(c). The Court will typically

rule on any pending motions in limine at the Final Pretrial Conference and will

address any other matters to facilitate the just and speedy disposition of the case.

      The parties must prepare for submission and consideration at the final pretrial

conference a marked copy of any objected-to deposition designations.

                                        X.     TRIAL

      Trial will start promptly at 8:30 AM on each day unless expressly directed by

the Court otherwise.

      On the first day of trial, the parties shall provide to the Court and the

Courtroom Deputy Clerk a bench notebook containing marked copies of all exhibits.

      The Court will conduct voir dire. Counsel and parties will not be permitted to

ask questions directly to the venire.

   XI.    CONSENT TO PROCEED BEFORE THE MAGISTRATE JUDGE

      Given this Court’s heavy caseload, proceeding before a Magistrate Judge can

offer the parties a more expeditious resolution of their case and allow them to

proceed to trial on a date certain without the possibility of being continued due to

criminal proceedings, which take precedence over civil cases. The parties can

consent to proceed before a Magistrate Judge for all proceedings or for a specified



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motion at any time prior to the start of trial. Consent must be unanimous, but no

party will face an adverse consequence for withholding consent. Consent forms can

be found on Judge Mendoza’s page on the Middle District of Florida website.

      DONE and ORDERED in Orlando, Florida on August 15, 2022.




Copies furnished to:

Counsel of Record
Unrepresented Parties




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